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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MERCIS B.V.,

        Plaintiff,                                         Case No.: 1:19-cv-1226

v.                                                         Judge Jorge L. Alonso

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Jeffrey Cummings
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                276                                        Hiltow
                 22                                     bighouse88
                 28                                 classicstone201412
                357                               MEIKEE Official Store
                 93                                   yoson-camping
                 24                                     boris-garden
                308                              BORUIT Boutique Store
                274                                   chen guangping
                144                               Happiness Warehouse
                 84                                        vdidit
                 88                                      wewilldo
                 66                                      printtshirt
                233           Tianjin Weize Science and Technology Development Co., Ltd.
                234                         tianjinlianhongkejiyouxiangongsi
                216                      Shenzhen F & B Technology Co., Ltd.
                235                                       tonybin


DATED: April 5, 2019                                 Respectfully submitted,

                                                     /s/ Keith A. Vogt
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                                                      Keith A. Vogt (Bar No. 6207971)
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                                                      1033 South Blvd., Suite 200
                                                      Oak Park, Illinois 60302
                                                      Telephone: 708-203-4787
                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 5, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
